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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

J. DOES 1-26,
Plaintiffs,
Vv.

ELON MUSK,
in his official capacity, Civil Action No. 25-0462-TDC
UNITED STATES DOGE SERVICE
and

THE DEPARTMENT OF
GOVERNMENT EFFICIENCY,

Defendants.

PRELIMINARY INJUNCTION
For the reasons set forth in the accompanying Memorandum Opinion, which is
incorporated by reference, it is hereby ORDERED that:

|. For purposes of this Order, “Defendants” refers to Elon Musk, in his official capacity; the
United States DOGE Service; the Department of Government Efficiency; and their
officers, agents, servants, employees, and attorneys. The term shall also include all
individuals who at any time from January 20, 2025 through the pendency of this
Preliminary Injunction have been designated as, or have served in the role as, a DOGE
Team Lead or DOGE Team Member pursuant to Executive Order 14,158 for purposes of
any activities relating to the United States Agency for International Development
(“USAID”), regardless of the formal personnel status of that individual.

2. Defendants are ENJOINED as follows:

a. Defendants shall reinstate access to email, payment, security notification, and all
other electronic systems, including restoring deleted emails, for all current USAID
employees and personal services contractors (“PSCs”), whether in active status or
on administrative leave, and shall provide written confirmation to the Court that
this requirement has been satisfied within 7 days of the date of this Order.
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b. Defendants shall not disclose outside of USAID any personally identifiable
information (“PII”), other personal information, or information contained in an
individual’s personnel file, security clearance file, or PSC contract file relating to
any current or former USAID employee or PSC, including but not limited to the
posting of unredacted PII of PSCs on the DOGE website.

c. Defendants shall not take any action, or engage in any work, relating to the
shutdown of USAID, defined for present purposes as: placement of employees on
administrative leave, reductions-in-force, employee terminations, or contract
terminations relating to any USAID employees or PSCs; terminations of USAID
contracts or grants; closures of USAID buildings, bureaus, or offices; and
permanent shutdowns or terminations of any USAID information technology
systems, including but not limited to permanent deletions of the contents of the
USAID website or collections of USAID electronic records.

d. Defendants shall not take any other actions relating to USAID without the express
authorization of a USAID official with legal authority to take or approve the action.

e. Within 14 days of the date of this Order, Defendants shall secure and submit to the
Court a written agreement among all necessary parties that ensures that USAID will
be able to reoccupy USAID headquarters at the Ronald Reagan Building in
Washington, D.C. in the event of a final ruling in favor of Plaintiffs. This
requirement will be stayed if, within 14 days of the date of this Order, Defendants
secure and submit to the Court a ratification of the decision to permanently close
USAID headquarters signed by the Acting Administrator of USAID or another
Officer of the United States with the authority to do so on behalf of USAID.

3. Pursuant to Federal Rule of Civil Procedure 65(c), Plaintiffs are required to post with this
Court a bond of $100.

4. The Preliminary Injunction shall take effect upon posting of the bond.
Violations of this Preliminary Injunction shall subject Defendants and all other persons

bound by this Order to all applicable penalties, including contempt of court.

Date: March 18, 2025

THEODORE D. CHU
United States District

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